         Case 23-00484     Doc 569      Filed 11/18/24 Entered 11/18/24 09:06:27                 Desc Notice of
                                        Filing of Transcript Page 1 of 1
ntctrsdl 10/2022



                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF IOWA
In Re:
                                                                       Chapter 7
BDC Group, Inc.
                                                                       Bankruptcy No. 23−00484

Debtor




                               NOTICE OF FILING OF TRANSCRIPT
                   AND OF DEADLINES RELATED TO RESTRICTION AND REDACTION



A transcript was filed on November 15, 2024. The following deadlines apply:

The parties have until November 22, 2024 to file with the court a Notice of Intent to Request Redaction of this
transcript. The deadline for filing a Statement of Redaction Submitted is December 6, 2024.

If a Statement of Redaction Submitted has been filed, the redacted transcript is due by December 16, 2024.

If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, on February 13, 2025, unless extended by court order.

To review the transcript for redaction purposes, you may purchase a copy from the transcriber or you may view the
document at the clerk's office public terminal.




Date: November 18, 2024                                      Sharon K. Mullin
                                                             Clerk, Bankruptcy Court
